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                    UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF FLORIDA
                        FORT MYERS DIVISION

 JAMEY STANLEY,

       Plaintiff,
 v.                                     CASE NO.:

 THRIVE SENIOR LIVING, LLC,

      Defendant.
 _________________________/

               COMPLAINT AND DEMAND FOR JURY TRIAL

       Plaintiff,   JAMEY       STANLEY    (“Plaintiff”),   by   and   through

 undersigned counsel, brings this action against Defendant, THRIVE

 SENIOR LIVING, LLC (“Defendant”), and in support of her claims states

 as follows:

                        JURISDICTION AND VENUE

       1.       This is an action for damages under the Fair Labor Standards

 Act (“FLSA”), 29 U.S.C. § 201 et seq., for failure to pay overtime wages

 under 29 U.S.C. § 215(a)(3).

       2.       This Court has subject matter jurisdiction under 28 U.S.C. §

 1331 and 29 U.S.C. § 201 et seq.
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       3.      Venue is proper in the Middle District of Florida, because all of

 the events giving rise to these claims occurred in Lee County, Florida.

                                     PARTIES
       4.      Plaintiff is a resident of Charlotte County, Florida.

       5.      Defendant operates a senior living facility in Lee County,

 Florida.

                          GENERAL ALLEGATIONS

       6.      Plaintiff has satisfied all conditions precedent, or they have

 been waived.

       7.      Plaintiff has hired the undersigned attorneys and agreed to pay

 them a fee.

       8.      Plaintiff requests a jury trial for all issues so triable.

       9.      At all times material hereto, Plaintiff was “engaged in the

 production of goods” for commerce within the meaning of Sections 6 and 7

 of the FLSA, and as such was subject to the individual coverage of the

 FLSA.

       10.     At all times material hereto, Defendant was an “employer”

 within the meaning of the FLSA, 29 U.S.C. § 203(d).




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       11.     Defendant continues to be an “employer” within the meaning of

 the FLSA.

       12.     At all times material hereto, Defendant was and continues to be

 an enterprise covered by the FLSA, as defined under 29 U.S.C. §§ 203(r)

 and 203(s).

       13.     At all times relevant to this action, Defendant was engaged in

 interstate commerce within the meaning of the FLSA, 29 U.S.C. § 203(s).

       14.     At all times relevant to this action, the annual gross sales

 volume of Defendant exceeded $500,000 per year.

                                    FACTS

       15.     Plaintiff began working for Defendant as a Certified Nursing

 Assistant ("CNA") in October 2019, and she was working as a Housekeeper

 at the time of her termination on January 17, 2021.

       16.     At various times material hereto, Plaintiff worked hours in

 excess of forty (40) hours within a workweek for Defendant, and she was

 entitled to be compensated for these overtime hours at a rate equal to one

 and one-half times her regular hourly rate.

       17.     Defendant failed to pay Plaintiff an overtime premium for all of

 the overtime hours that she worked, in violation of the FLSA.



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       18.    For any hours worked in excess of forty (40) hours per week,

 Plaintiff was paid at her normal rate of $14 per hour. Plaintiff typically

 worked about sixty (60) hours per week.

       19.    Throughout Plaintiff’s entire tenure with Defendant, she was

 not paid for all hours worked. Plaintiff’s paychecks were typically ten (10)

 hours short. Thus, Plaintiff was not paid for all of her hours worked and the

 overtime hours for which she was paid were not paid at the required rate.

       20.    Plaintiff complained to Defendant about its failure to

 compensate her as required by the FLSA but no corrective action was taken.

       21.    Defendant’s actions were willful, and showed reckless

 disregard for the provisions of the FLSA.

               COUNT I – FLSA OVERTIME VIOLATION

       22.    Plaintiff realleges and readopts the allegations of paragraphs 1

 through 11 of this Complaint, as though fully set forth herein.

       23.    During the statutory period, Plaintiff worked overtime hours

 while employed by Defendant, and she was not compensated for all of these

 hours in accordance with the FLSA.

       24.    The foregoing conduct, as alleged, constitutes a willful

 violation of the FLSA, within the meaning of 29 U.S.C. § 255(a).



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       25.   As a result of the foregoing, Plaintiff has suffered damages.

       WHEREFORE, Plaintiff demands:

             a)    Judgment against Defendant for an amount equal to

                   Plaintiff’s unpaid back wages at the applicable overtime

                   rate;

             b)    Judgment against Defendant stating that Defendant’s

                   violations of the FLSA were willful;

             c)    An equal amount to Plaintiff’s overtime damages as

                   liquidated damages;

             d)    To the extent liquidated damages are not awarded, an

                   award of prejudgment interest;

             e)    A declaratory judgment that Defendant’s practices as to

                   Plaintiff were unlawful, and grant Plaintiff equitable

                   relief;

             f)    All costs and attorney’s fees incurred in prosecuting

                   these claims; and

             g)    For such further relief as this Court deems just and

                   equitable.




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                           JURY TRIAL DEMAND

       Plaintiff demands trial by jury as to all issues so triable.

       Dated this 24th day of February, 2023.

                                           Respectfully submitted,

                                           /s/ Ashwin R. Trehan
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